Case 5:24-cv-00204-H       Document 42       Filed 01/31/25      Page 1 of 1      PageID 53408



                           I'NITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DTVISION

 STATE OF TEXAS,

         Plaintiff,

                                                              No. 5:24-CV-204-H

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et
 al.,

         Defendants.

             ORDER HOLDING BRIEFING DEADLINES IN ABEYANCE

        Before the Court is the parties' consent motion to hold all pending deadlines in

 abeyance. Dkt. No. 39. The Court grants the motion. The Court stays the current briefing

schedule until further notice. Additionally, the Court orders the defendants to meet and

confer with the plaintiff regarding how best to proceed in this case and to file a joint status

report by no later than May 1, 2025.

        The Coun is also in receipt ofthe proposed intervenor-defendants' notice regarding

its position on the motion to hold deadlines in abeyance. Dkt. No. 40. The Court will

order a briefing schedule on the motion to intervene (Dkt. No. 26) aftu the panies file their

JOmt Status report.

        So ordered on January 31,2025




                                             JAMES        SLEY HE   RIX
                                             UNI        STATES DISTRICT JUDGE
